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                      UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                         CRIMINAL ACTION

VERSUS                                           NO. 19-197

KHALID AHMED SATARY                              SECTION D (4)


                                    ORDER

      Considering the Government’s Motion for Leave to File Response to Defendant

and Labs’ Supplemental Memorandum (R. Doc. 301);

      IT IS HEREBY ORDERED that the motion is GRANTED. The Clerk’s Office

is directed to file the Government’s Response to Defendant and Labs’ Supplemental

Memorandum (R. Doc. 301-2) and its exhibits (R. Doc. 301-3, R. Doc. 301-4, and R.

Doc. 301-5) into the record.

      New Orleans, Louisiana, June 1, 2022.



                                         ______________________________________
                                         WENDY B. VITTER
                                         UNITED STATES DISTRICT JUDGE
